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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION


    VOIP-PAL.COM, INC.,                             )
                                                    )
                     Plaintiff,                     )
                                                    ) Case No. 6:21-cv-00665-ADA
    v.                                              )
                                                    ) JURY TRIAL DEMANDED
    FACEBOOK, INC. and WHATSAPP,                    )
    INC.,                                           ) PUBLIC VERSION
                                                    )
                     Defendants.                    )
                                                    )

                  DEFENDANTS FACEBOOK, INC.’S AND WHATSAPP, INC.’S 1
                               MOTION FOR TRANSFER




1
         Effective October 28, 2021, Facebook, Inc. changed its name to Meta Platforms, Inc., and will
         file a notice of name change with the court in due course. For purposes of this motion,
         Facebook, Inc. will be referred to herein as “Facebook.” Also, as previously noted at Dkt. 20,
         WhatsApp, Inc. changed its name to WhatsApp LLC effective January 1, 2021, and is referred
         to herein as “WhatsApp.”
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I.     INTRODUCTION

       Defendants move to transfer this case to the Northern District of California, which is the




                                                  ; therefore, this action must be heard in N.D. Cal.

       Further, N.D. Cal. is the most convenient forum to resolve the parties’ dispute because it

is home to the Defendants (Facebook and WhatsApp), the relevant documents and witnesses, and

other parties against whom the Plaintiff (VoIP-Pal) has asserted the same patents. A court in N.D.

Cal. has also adjudicated multiple prior waves of VoIP-Pal’s patent suits. The Federal Circuit has

affirmed every decision appealed from the N.D. Cal. court regarding VoIP-Pal and its patents,

including decisions invalidating several related patents and decisions finding that, due to its deep

familiarity, the N.D. Cal. court was the most appropriate to handle those patent litigations.

       VoIP-Pal continues to file actions in W.D. Tex. hoping to escape the N.D. Cal. court’s

substantial experience with VoIP-Pal and its patents as well as the resulting unfavorable rulings.

VoIP-Pal asserts here two patents that the court in N.D. Cal. found relate to “the same technology”

as patents it already ruled ineligible under 35 U.S.C. § 101. But the two tenuous connections of

this case to W.D. Tex.—(1) VoIP-Pal’s recent litigation-inspired move to Waco months after

multiple defendants filed transfer motions in prior VoIP-Pal cases in W.D. Tex., and (2)

Defendants’ employees in Austin that did not design the accused features in this case—are

insufficient as a matter of law to support venue. In short, VoIP-Pal is improperly hunting for a

fresh start in a new venue that has no relevant connection to the parties or this dispute and no prior

experience with VoIP-Pal or its patented technology. This case belongs in N.D. Cal., and
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Defendants respectfully request transfer to N.D. Cal. under 28 U.S.C. § 1404(a), which is clearly

more convenient for the parties, witnesses, and judiciary.

II.    STATEMENT OF FACTS

       A.      Case History

       The present action is VoIP-Pal’s fourth wave of patent suits.

               1.     Wave 1

       In 2016, VoIP-Pal filed four cases in Nevada against Apple, AT&T, Twitter, and Verizon,

asserting two U.S. patents (“Wave 1”). Those cases were transferred to N.D. Cal. and assigned to

the Hon. Lucy Koh, with VoIP-Pal’s explicit consent. Judge Koh ultimately found VoIP-Pal’s

patents invalid under 35 U.S.C. § 101 in a 45-page opinion. The Federal Circuit unanimously

affirmed that decision. Declaration of Joshua Glucoft (“Glucoft Dec.”) ¶ 2.

               2.     Wave 2

       In 2018, VoIP-Pal filed two cases in Nevada (“Wave 2”) against Apple and Amazon,

asserting four U.S. patents that share a common specification with, and recite claims similar to,

the Wave 1 patents. The Wave 2 cases were transferred to N.D. Cal., again with VoIP-Pal’s explicit

consent. Judge Koh found VoIP-Pal’s patents invalid under 35 U.S.C. § 101 in a 68-page opinion.

Once again, the Federal Circuit unanimously affirmed. Id. ¶ 3.

               3.     Wave 3

       In 2020, presumably to avoid another loss in N.D. Cal., VoIP-Pal filed a new set of cases

in W.D. Tex. asserting another U.S. patent in the same family as the Wave 1 and 2 patents against

Google, Verizon, AT&T, Apple, Amazon, and Facebook/WhatsApp (“Wave 3”). Verizon, Apple,

AT&T, and Twitter then filed declaratory judgment actions against VoIP-Pal in N.D. Cal (“Wave

3 DJ”) regarding the same patent. The Wave 3 DJ cases were assigned to Judge Koh, who related



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the Wave 3 DJ cases to the Wave 1 cases. Apple and Twitter also sought DJ relief with respect to

the Wave 3 patent’s parent, which has substantially similar claims. Id. ¶¶ 4, 53.

       VoIP-Pal moved to dismiss the Wave 3 DJ cases under, inter alia, the first-to-file rule, and

Judge Koh denied those motions. Addressing the first-to-file rule, Judge Koh found that it would

be “unjust and inefficient to continue the Texas cases,” and “to permit [VoIP-Pal] to forum shop”

given N.D. Cal.’s prior experience with the patent family. VoIP-Pal petitioned for a writ of

mandamus, which the Federal Circuit denied, noting (id.):

       [T]he conclusion that it would be far less efficient for the Western District of Texas
       to resolve these cases based on the Northern District of California’s familiarity with
       the overlapping issues is particularly well supported. … [T]he instant cases and
       prior cases involve similar technology and accused products. And [] the district
       court previously wrote a total of 113 pages on the validity of the patents, suggesting
       the court has considerable familiarity with overlapping validity issues…. 2

       More recently, Judge Koh denied some additional motions to dismiss by VoIP-Pal in the

Wave 3 DJ cases in view of a narrow covenant not to sue, as VoIP-Pal’s behavior demonstrated

“an apparent attempt to avoid a ruling from [N.D. Cal.].” The Wave 3 DJ cases that were not

dismissed in view of VoIP-Pal’s covenant not to sue have since settled and been dismissed

following court-ordered settlement conferences, except Twitter’s declaratory judgment action

regarding the parent patent, which remains pending. Id. ¶¶ 4–5, 53.

               4.      Wave 4 (The Present Action)

       In 2021, VoIP-Pal asserted U.S. Patent Nos. 8,630,234 and 10,880,721 (the “Asserted

Patents”) against Google, T-Mobile, Verizon, AT&T, Apple, Amazon, and Facebook/WhatsApp

(“Wave 4”). Facebook’s and WhatsApp’s accused products in Wave 4 (i.e., the present action) are




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    All emphasis in this motion is added unless indicated otherwise.

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the same products accused in Wave 3. 3 VoIP-Pal has failed to diligently litigate the Wave 4 cases,

such that this Court has not yet undertaken any substantive analysis. Glucoft Dec. ¶ 6.

       Verizon, Apple, and AT&T filed DJ actions on the Asserted Patents in N.D. Cal. (“Wave

4 DJ”). Apple and AT&T subsequently settled and dismissed their action, but the Verizon Wave

4 DJ case is still pending. 4 Although the N.D. Cal. court did not relate the Wave 4 DJ cases to the

earlier cases, it did find that the Asserted Patents “are related to the same technology as the patents

involved in [the earlier waves].” Glucoft Dec. ¶ 6.

       B.      N.D. Cal.’s Familiarity with the Parties and the Technology

       Prior and pending actions have given the N.D. Cal court substantial familiarity with the

relevant technology at issue in this case. As discussed above, Judge Koh has “previously [written]

a total of 113 pages on the validity of [VoIP-Pal’s] patents” in the Wave 1 and 2 cases, and also

expressly recognized that the Asserted Patents here “are related to the same technology” as all of

VoIP-Pal’s previously asserted patents. Id. ¶¶ 4, 6. Indeed, the patents asserted in Waves 1-3 and

the Asserted Patents in this matter were all developed by the same company (Digifonica

(International) Limited), share an inventor (Johan Emil Viktor Björsell), and have overlapping

specifications, including with respect to their abstracts and figures. See Dkt. 12 at 5–6. Notably,

VoIP-Pal cited hundreds of litigation filings and invalidity contention references related to the

Wave 1 litigation and previously asserted patents during the ’721 Patent’s prosecution. Glucoft




3
    Compare Dkt. 1 ¶¶ 27–34 (accusing Defendants’ “messaging and communication platform[s]”
    that “allow[] smartphone and desktop users to send text messages and voice messages, make
    voice and video calls, and share images”), with Case No. 6:20-cv-00267-ADA, Dkt. 28 ¶¶ 44–
    47 (accusing Defendants’ “messaging service[s]” that “allow[] users of mobile devices[s] to
    communicate using text, images, video and audio with users of other mobile devices”).
4
    The N.D. Cal. court recently stayed Verizon’s Wave 4 DJ action. See Glucoft Dec. ¶ 6.

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Dec. ¶ 6. The patent at issue in Twitter’s pending declaratory judgment action also contains

overlapping claim terms with the Asserted Patents, such as the term “identifier.” See Ex. 48 cl. 1.

        C.      Evidence and Witnesses Located in N.D. Cal.

        The accused Facebook and WhatsApp applications were both primarily designed and

developed in N.D. Cal., and the majority of relevant personnel that manage the operation of the

accused features, and the documents describing the design, development, and operation of the

accused features, are also primarily located in N.D. Cal. See Declaration of Nicholas Wong

(“Wong Dec.”) ¶¶ 2–3, 13, 21.

        Authors of relevant prior art are also based in N.D. Cal. For example, there are at least four

prior-art patents and patent applications that are material to the patentability of the Asserted Patents

that have at least 11 inventors living and/or working in N.D. Cal. Exs. 2–16. As an additional

example, Mark Townsley and Fred Baker authored papers cited in the Asserted Patents and are

California residents, as is at least one of their other co-authors. See Exs. 17–21. They formerly

worked at Cisco—headquartered in N.D. Cal.—which created a relevant prior-art system that

Defendants contend is material to the patentability of the Asserted Patents. See Exs. 19–20, 22–

23. Two other relevant prior-art systems are DialPad and GrandCentral, and the founders of the

companies that created those systems—Craig Walker and Vincent Paquet—both currently reside

in N.D. Cal. See Exs. 24–28. Additionally, Dr. Marian Croak, who is often called “the mother of

VoIP,” is the Vice President of Engineering at Google, based in N.D. Cal. See Exs. 29–30.

        Other relevant sources of evidence are closer to N.D. Cal. For example, all four inventors

of the Asserted Patents appear to reside near Vancouver, Canada. See Exs. 31–34. Additionally,

John M. Carson, who prosecuted the Asserted Patents, resides in California. See Exs. 35–36.




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       D.      VoIP-Pal’s Purported Connections to W.D. Tex.

       VoIP-Pal does not have any actual operations—its sole business is patent licensing and

assertion. See Ex. 37 at Note 1. VoIP-Pal was headquartered in Bellevue, Washington (Ex. 38),

until March 2021 when VoIP-Pal allegedly moved its principal place of business to Waco (after

various defendants filed transfer motions to move the Wave 3 cases from Texas to California). Ex.

39. VoIP-Pal’s Waco location appears to be a “virtual office” rented from a third party that touts

that its space “deliver[s] the image of a professional office” (Ex. 40) for clients “without the need

of office time” (Ex. 41). VoIP-Pal’s CEO does not reside near this “office”; he lives in Vancouver,

Canada (Ex. 34). VoIP-Pal recently hired a new CFO to work out of its Waco “office,” but that

individual appears to live outside of this District (in Fort Worth), is only part-time (he is also the

CFO of a Virginia company), and is limited as to how much time he could spend in the Waco

“office.” See Exs. 39, 43–45. Indeed, the owner of the Waco “office” limits use of the space to

generally no more than 16 hours per month per “tenant.” Ex. 42.

       E.




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III.   LEGAL STANDARD

       “For the convenience of parties and witnesses, in the interest of justice, a district court may

transfer any civil action to any other district or division where it might have been brought.” 28

U.S.C. § 1404(a). Courts consider public- and private-interest factors. In re Volkswagen of Am.,

Inc., 545 F.3d 304, 312 (5th Cir. 2008). “The private interest factors are: ‘(1) the relative ease of

access to sources of proof; (2) the availability of compulsory process to secure the attendance of

witnesses; (3) the cost of attendance for willing witnesses; and (4) all other practical problems that

make trial of a case easy, expeditious and inexpensive.’ The public interest factors are: ‘(1) the

administrative difficulties flowing from court congestion; (2) the local interest in having localized

interests decided at home; (3) the familiarity of the forum with the law that will govern the case;

and (4) the avoidance of unnecessary problems of conflict of laws [or in] the application of foreign

law.’” Id. at 315 (citations omitted).

       But “‘the existence of a mandatory, enforceable FSC [forum-selection clause] dramatically

alters this analysis.’ First, the burden of proof is shifted. … Second, the court should not consider

the private-interest factors since, once the parties contractually agree to a forum, they waive the

right to challenge that forum as ‘inconvenient.’ Rather, the court should consider only public-

interest factors[, and] because those factors rarely defeat a motion to transfer, FSCs will typically

control, barring exceptional circumstances.” FCX Solar, LLC v. FTC Solar, Inc., No. 6:21-cv-

00548-ADA, Dkt. 30 at 7 (W.D. Tex. Oct. 25, 2021) (citations omitted).

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                                                               . See NuCurrent, Inc. v. Samsung

Elecs. Co., No. 6:18-CV-51-JRG-KNM, 2018 WL 7821099, at *7–8 (E.D. Tex. Dec. 26, 2018)

(finding claims “related to” NDA because resolution “require[d] the application of [NDA’s]

various provisions” including those “premised on the disclosure of confidential … information”). 8




                                     Indeed, as the factor-by-factor analysis below confirms, N.D.

Cal. is clearly the most convenient forum independent of the forum-selection clause.

       B.      The Private-Interest Factors Weigh in Favor of N.D. Cal.

               1.     Relative Ease of Access to Sources of Proof

       “In patent infringement cases, the bulk of the relevant evidence usually comes from the

accused infringer,” and therefore “the place where the defendant’s documents are kept weighs in



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    Kannuu, 2021 WL 4617967 (Fed. Cir. 2021). In Kannuu, the parties’ NDA had expired and
    no longer protected the confidentiality of the information the parties had exchanged. See
    Kannuu Pty Ltd. v. Samsung Elecs. Co., Case No. 1:19-cv-04297-ER, Dkt. 29-6 ¶¶ 3, 13
    (S.D.N.Y. Oct. 1, 2019) (agreement’s confidentiality requirements only survived until 2018,
    but case was filed in 2019). Because the NDA in Kannuu had expired, the plaintiff seeking to
    enforce the forum-selection clause could not argue that the NDA’s terms were relevant to
    determining the evidence available to assess infringement. See 2021 WL 4617967, at *3.

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favor of transfer to that location.” In re Apple Inc., 979 F.3d 1332, 1340 (Fed. Cir. 2020). Also

highly relevant is “the location where the allegedly infringing products were researched, designed,

developed and tested.” XY, LLC v. Trans Ova Genetics, LC, No. W-16-CA-00447-RP, 2017 WL

5505340, at *13 (W.D. Tex. Apr. 5, 2017).

       WhatsApp’s relevant sources of proof are overwhelmingly, if not exclusively, in N.D. Cal.

The WhatsApp application was designed and developed in N.D. Cal., and the related documents

largely were generated and are maintained in that district where the engineering teams who manage

such features are located. Wong Dec. ¶¶ 3, 8–10, 13. Financial and marketing documents were

also generated and are maintained in N.D. Cal. Id. ¶¶ 11–13. Similarly, Facebook’s sources of

proof are primarily on the West Coast, including in N.D. Cal. The relevant technical

documentation was generated and is maintained primarily in N.D. Cal. and Washington State, and

financial and marketing documents were generated and are maintained in N.D. Cal. Id. ¶¶ 14–21.

       By contrast, as discussed above, VoIP-Pal’s presence in this District “is plainly recent,

ephemeral, and artificial.” See In re Samsung Elecs. Co., Ltd., 2 F.4th 1371, 1379 (Fed. Cir. 2021);

Section II.D. As a result, there is no indication that VoIP-Pal actually has any relevant sources of

proof in this District. The sources of proof relevant to this matter are thus overwhelmingly located

in or near N.D. Cal. and not in this District, such that this factor weighs in favor of transfer.

               2.      Availability of Compulsory Process to Secure Witness Attendance

       This factor “weigh[s] heavily in favor of transfer when more third-party witnesses reside

within the transferee venue than reside in the transferor venue.” MasterObjects, Inc. v. Facebook,

Inc., No. 6-20-CV-0008-ADA, Dkt. No. 86, at 7 (W.D. Tex. July 13, 2021) (Albright, J.) (citing

In re Apple, Inc., 581 F. App’x 886, 889 (Fed. Cir. 2014)). A showing of unwillingness is not

required. In re Hulu, No. 2021-142, 2021 WL 3278194, at *4 (Fed. Cir. Aug. 2, 2021).



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       There are many relevant third-party witnesses within the subpoena power of N.D. Cal. but

not of this Court, including: (1) numerous authors of material prior-art references and creators of

prior-art systems that have knowledge both of the state of the art and specific invalidity references

that may be asserted at trial, including Mark Townsley and Fred Baker, who authored art

specifically mentioned in the Asserted Patents, 9 and Dr. Marian Croak; and (2) John M. Carson,

who prosecuted the Asserted Patents. See Section II.C. In stark contrast to the numerous third-

party witnesses in N.D. Cal., Defendants have not identified any relevant third-party witnesses in

W.D. Tex. This factor strongly favors transfer.

               3.      Cost of Attendance for Willing Witnesses

       Witness convenience “is probably the single most important factor in transfer analysis.” In

re Genentech, Inc., 566 F.3d 1338, 1343 (Fed. Cir. 2009). This factor accounts for the convenience

of all witnesses, including party witnesses. Hulu, 2021 WL 3278194, at *5.

       The relevant WhatsApp witnesses are in N.D. Cal. Nearly all of the engineers responsible

for designing, developing, and maintaining the relevant aspects of the WhatsApp application are

in N.D. Cal. Wong Dec. ¶¶ 8–10. WhatsApp employees with knowledge about financial and

marketing aspects of WhatsApp are also in N.D. Cal. Id. ¶¶ 11–12. Similarly, relevant Facebook

witnesses are overwhelmingly on the West Coast, with engineers responsible for designing,

developing, and maintaining the relevant aspects of Messenger primarily located in N.D. Cal. and

Washington State. Id. ¶¶ 14–18. Further, Facebook employees with knowledge about financial and

marketing aspects of Messenger are primarily in N.D. Cal. Id. ¶¶ 19–20.




9
    See Hulu, 2021 WL 3278194, at *3 (“[C]ertain of Hulu’s proposed prior art witnesses directly
    relate[] to prior art that was specifically mentioned in the asserted patents themselves,
    heightening their potential relevance.”).

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       There are also many nonparty witnesses that reside in or much closer to N.D. Cal. who may

be willing to come to trial or who may need to be compelled, including key prior-art authors, the

inventors of the Asserted Patents, and prosecution counsel. See Section II.C. Traveling to Waco

would be substantially more inconvenient, time-consuming, and expensive than traveling to N.D.

Cal. for these people. See Genentech, 566 F.3d at 1343 (“[I]nconvenience to witnesses increases

in direct relationship to the additional distance to be traveled.”).

       No relevant VoIP-Pal or third-party witnesses are located in W.D. Tex. No WhatsApp or

Facebook employees in Texas have unique knowledge related to the design of the accused

functionalities. See Wong Dec. ¶¶ 9 n.1, 10, 15. Given the abundance of witnesses in or near N.D.

Cal. and the lack of relevant witnesses in W.D. Tex., this factor favors transfer. See MasterObjects,

No. 6:20-cv-00087-ADA, Dkt. 86 at 9 (W.D. Tex. July 13, 2021) (Albright, J.).

               4.      Considerations That Make Trial Easy, Expeditious, and Inexpensive

       This Court has found that “[m]ultiple suits involving the same or similar issues may create

practical problems that will weigh in favor of or against transfer.” See SynKloud Techs., LLC v.

Dropbox, Inc., No. 6:19-CV-00526-ADA, 2020 WL 2528545, at *6 (W.D. Tex. May 18, 2020)

(Albright, J.). Over the last five years, a court in N.D. Cal. presided over the Wave 1 and 2 cases

and the Wave 3 DJ cases, which all involved patents that that court found “related to the same

technology” as the Asserted Patents here, and that court is still presiding over Twitter’s declaratory

judgment action regarding a related patent that has overlapping claim terms with the Asserted

Patents in this matter. See Sections II.A.1-II.B. Through those cases, the court in N.D. Cal. has

become familiar with the “same technology” at issue here as well as the validity of VoIP-Pal’s

related patents. Accordingly, it would be much more efficient for the court in N.D. Cal. to handle

this matter in view of its experience with the “same technology” and also in order to avoid



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potentially inconsistent claim constructions. See Jackson v. Intel Corp., No. 2:08-cv-154, 2009

WL 749305, at *4 (E.D. Tex. Mar. 19, 2009). This factor favors transfer.

       C.      The Public-Interest Factors Also Weigh in Favor of N.D. Cal.

               1.      Administrative Difficulties Flowing from Court Congestion

       VoIP-Pal failed to timely serve infringement contentions, notwithstanding the Court’s

Order to do so. Glucoft Dec. ¶ 6. Given VoIP-Pal’s lack of diligence in litigating this case, time to

trial should be neutral at worst. This is especially true because VoIP-Pal is a non-operating

company whose sole business is licensing, so VoIP-Pal has no “need of a quick resolution.” In re

Juniper Networks, Inc., 14 F.4th 1313, 1322–23 (Fed. Cir. 2021).

       In any event, N.D. Cal. averages 745 cases per judge, with a median time to civil trial of

22.0 months; by contrast, W.D. Tex. averages 889 cases per judge, with a 19.1-month median time

to trial. See Ex. 47. Thus, the court congestion metrics for the two districts are fairly similar and

this factor is also (at least) neutral on the merits. See Hulu, 2021 WL 3278194, at *5. Beyond

statistics though, the more salient consideration is the N.D. Cal. court’s history of expeditiously

resolving VoIP-Pal’s patent cases: It resolved Wave 1 less than six months after the last case was

transferred, Wave 2 in just over one year, and Wave 3 by settlement within months after that

court’s rulings in those cases were upheld on appeal and within about a year from the date they

were filed. Glucoft Dec. ¶¶ 2–5. This precedent suggests that judicial efficiency on these particular

facts actually weighs slightly in favor of transfer.

               2.      Local Interest in Having Localized Interests Decided at Home

       Facebook and WhatsApp both have their principal place of business in N.D. Cal. where

they have operated for over a decade, so there is little doubt that N.D. Cal. has a strong local




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interest in hearing this dispute. 10 See Texas v. Google LLC, No. 4:20-CV-957-SDJ, 2021 WL

2043184, at *7, 9 (E.D. Tex. May 20, 2021) (“‘There is little doubt’ that a district ‘has a local

interest in the disposition of any case involving a resident corporate party.’”).

         This factor also considers “the significant connections between a particular venue and the

events that gave rise to a suit.” In re Apple, 979 F.3d at 1345 (quotation omitted) (emphasis in

original). As discussed above, the accused features were designed and developed in N.D. Cal. See

Section II.C. Thus, N.D. Cal. has a strong local interest in deciding this case about the R&D events

that led to the rise of the functionality accused of infringement in this case. See In re Apple, 979

F.3d at 1345. In contrast, W.D. Tex. has no localized interest because VoIP-Pal’s recent “move”

to this district is nothing more than a forum-shopping ploy, rendering its presence here irrelevant.

See Section II.D. Moreover, Defendants’ employees in this District are almost entirely “untethered

to the lawsuit” and therefore nearly irrelevant to the analysis. See In re Apple, 979 F.3d at 1345.

This factor therefore strongly favors transfer.

                 3.      Familiarity of the Forum with the Law



     . Therefore, this factor favors transfer

                                                                               .

                 4.      Avoidance of Unnecessary Conflict of Law Problems

         This factor is neutral. In re TS Tech. USA Corp., 551 F.3d 1315, 1319–21 (Fed. Cir. 2008).

V.       CONCLUSION

         In sum, all public-interest factors favor transfer or are neutral, and all of the private-interest

factors favor transfer. The Court should therefore transfer this litigation to N.D. Cal.


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     Google is also accused of infringing the Asserted Patents and is based in N.D. Cal. See Ex. 46.

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Dated: November 9, 2021

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                                   CERTIFICATE OF SERVICE
        I hereby certify that all counsel of record who have consented to electronic service are
being served with a copy of this document via electronic mail on November 9, 2021.
        I also hereby certify that all counsel of record who have consented to electronic service
are being served with a notice of filing of this document, under seal, pursuant to L.R. CV-5(a)(7)
on November 9, 2021.

                                                     /s/ Joshua Glucoft
                                                     Joshua Glucoft

               CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL
        I certify that the foregoing document is authorized to be filed under seal pursuant to the
Protective Order in this case and Judge Albright’s Standing Order Regarding Filing Documents
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                                                     /s/ Joshua Glucoft
                                                     Joshua Glucoft




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